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Exhibit D
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MARK MACRIS April 25, 2018
MACRIS vs EXPERIAN INFORMATION SOLUTIONS 1

 

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
MARK K. MACRIS,

Plaintiff,

EXPERIAN INFORMATION SOLUTIONS, INC
And SPECIALIZED LOAN SERVICING LLC,

Defendants.

Examination Before Trial of MARK
MACRIS, held before Shannon Gallagher, Notary
Public, at The Law Offices of Kenneth Hiller,
6000 North Bailey Avenue, Amherst, New York,
on Wednesday, April 25th, 2018 at 10:00 a.m.

ending at 2:06 p.m. pursuant to notice,

 

 

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Q.

Do you recall going to court in what's called
a forecicsure settlement conference in June of
2015?

Mm-hmm. Yes, I do.

Okay. And at that settlement conference, do

you recail what happened?

 

Yes.

And what happened?

i appeared before the court with my divorce
attorney, I believe, and explained to them
that I don't have any legal right to this
property anymore, I signed over the deed, and
that I should follow up with I believe -- I
believe at the time follow up with the

foreclosure attorneys, because they were the

 

ones handling the mortgage and the note and
everything that goes along with that.

They asked me if I was planning on keeping
the house I believe, I said no, I haven't
lived in that house in six or seven years.
That was -- if I can recall, that was what the
conversation was about.

Okay. At the time you went to the conference
in June of 2015, was your daughter still

living with your ex-wife at that time?

 

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A. Yes.
QO. And at that time, was your son still living

 

with you?

Yes.

Okay. So earlier you stated that your concern
over the foreclosure is that your daughter
would lose her home, correct?

Correct.

So when you went to the conference in June of
2015 and were asked about retaining the house,
at that time were you still concerned about
retaining the house for your daughter?

I believe that I knew she was going to have
other plans to leave the house and get an
apartment, so I didn't have any concerns about

the house.

 

When you say she, you mean your daughter or
your ex-wife?

My Gaughter was only three. My ex-wife.
Okay. So your daughter was three in 2015?
I'm sorry. My daughter was born in 2007, so
she was eight.

Okay. Do you recall what happened after --
were you told at that conference -- strike

that. She never strikes it. She writes down

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MARK MACRIS April 25, 2018

 

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Strike that. What were you told after that
conference in 2015 regarding your assertion
that you were removed from your obligations on
the property?

That I should -- that I should follow up with
Davidson Fink, who was the foreclosure
attorneys.

Okay. So at that conference the court didn't
tell you you were relieved of your
obligations?

No.

I'm going to give you what has been premarked
as Exhibit U. Mr. Macris, I've handed you
what's been premarked as Exhibit U. These are
copies of an email exchange between you and
Davidson Fink, that your attorney, Mr.
Andrews, provided to our office yesterday.
Have you seen these emails before?

Yes.

Okay. Starting at the end of the chain,

page 3, which is actually the beginning of the
chain, correct? That's how emails work? It
puts the oldest one at the bottom?

Yes.

May 18, 2015, a Kurt Odenbach from Davidson

 

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Q. So that's your interpretation of this order of :
reference, that you're relieved from the note
and mortgage?

A. From the attorney's office, correct. I am not
an attorney, but that's what they advised me.

Q. Understood. But you testified already, unless
you want to change it, it does not say that in
this document?

A. It doesn't say that, no.
Let's move on. I have two more topics to
cover. Do want to take a break or keep going?

A. Keep going.
Did there come a time when you disputed my
clients reporting you as delinquent on the
mortgage loan for the property at 403 Teakwood
Terrace?

A. Yes.
Do you recall approximately when you disputed
that, first disputed that?

A. I guess I have to ask you a question. Are you
talking a written dispute or phone dispute?

Q. Let's start with the earliest dispute, whether
it was written or by phone.

A. Mm-hmm. It was -~ I -- probably first by

phone I would say.

 

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MARK MACRIS April 25, 2018
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QO. Do you recall approximately when? :
A. I would say initial correspondence was |
January, February, 2016, somewhere around !
there. :
Q. Do you recall what prompted you to call them
to dispute your being reported as delinquent
on that loan?
A. Do I recall contacting them? Yes.
Sorry. Bad question. Do you recall what it
was that raised this issue for you that you
needed to dispute the credit report?
A. When you get a bill in the mail that says I
owe $159,000 and I'm -- that I owe Specialized
Loan Servicing, yeah, I'm going to act on it.
QO. Okay. So you received correspondence from
Specialized Loan Servicing stating you owed
money on the mortgage loan for the 403
Teakwood Terrace?
A. Correct.
Q. Do you recall when you received that document?
A. Around that timeframe, 2016 or so.
Q. Do you still have copies of that
correspondence?
A. I do. TI don't have them with me, but I have

 

copies of correspondence that I received from

 

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